Case 1:05-cv-01084-.]DT-STA Document 18 Filed 04/22/05 Page 1 of 3 Page|D 6

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GERALD D. RILEY and wlfe, *¢’.5;_> f" O/: - [j//\ 0
TERESA M. RILEY O/"/;zf-/;S? Q,§Q/O
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Plainciffs, /CO@£/'

vs.
Case No.: 1:05-cv-01084-JDT-sta
MERCK & CO., INC.; CAREMARK
RX, INC.; SARAH C. CAPOCACCIA;
STEPHANIE B. (BUCK) ISON;
COURTNEY SHAY (INGRAM)
McMAKIN; VINAY KR!SHAN
SOOD; MELISSA CAROL
(McALLISTER) BARNES; MICHAEL
RICHARDS; PATRICIA
BLASINGAME and SCOTT EVANS,

Defendants

 

 

ORDER ON MOTION FOR SPECIAL ADMISSION PRO HAC VICE
J ames L. (Larry) Wright has moved for special admission pro hac vice in this action on
behalf of Plaintiffs. ] ames L. (Larry) Wright is licensed to practice law in good standing before
the Texas Supreme Court. For good cause shown, that motion is granted. It is hereby ordered
that Mr. Wright be admitted pro hac vice as counsel for Plaintiffs and may actively participate in
any trial, pre-trial and post-trial proceedings before this court.

IT IS SO ORDERED.
2 2"::5 g g § §
Signed this the day of , 2005.

UNIT TATES DISTRICT JUDGE

This document entered on the docket sheet ln com llenca
with Ru|e 58 and,'or_TQ (a) FRCP on _H/_Ql&i

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 18 in
case 1:05-CV-01084 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

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Honorable .1 ames Todd
US DISTRICT COURT

